      Case: 1:18-cv-04563 Document #: 1 Filed: 07/02/18 Page 1 of 10 PageID #:1
                                                                                          )v>
                                                                                       FILED
                      IN THE TINTIED STATES DISTRICT COT]RT                                 JUL 0 2   zudl/z
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DTVISION                                    ffi
GEORGE MOORE,

       Plaintiff,                                     Case No.

v.

HIGI{ER HOMECARE LLC dlbla                             1:18-cv-04563
RIGHTCARE FOUNDATION,
                                                       Judge Charles P. Kocoras
       Defendant.                                      Magistrate Judge Maria Valdez


                                           COMPI,AINT

PlaintiffGeorge Moore states   as   follows for his complaint against Higher Homecare LLC:

                                         Nature of the Case

       l.      This action arises out of the Defendant's repeated violations of, inter alia,the

Telephone Consumer Protection Act, 47 U.S.C.      S   227, et seq. (*TCPA"), and the Illinois

Automatic Telephone Dialers Act, 815 ILCS 305, et seq. (*ATDA").

       2.      This case involves a telemarketing campaign by Defendant Higher Homecare

LLC to market their services through the use of autodialed prerecorded messages in violation of

the TCPA and ATDA.

       3.      Mr. Moore never consented to receive these calls. In fact, Mr. Moore registered

his telephone number in 2003 on the National Do Not Call Registry where        it still remains.

                                             PARTIES

       4.      PlaintiffGeorge Moore is a natural person and resident of Illinois in this District.
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          5.    Defendant Higher Homecare LLC ("Higher Homecare") is an Illinois Limited

Liability Corporation that    has its principal   office in this District with   a registered agent   of Simon

Markus, 8128 Lawndale Ave, Skokie, n- 60076.

          6.    It was formerly named RightCare Foundation and still does business under that

name.

          7.    On or about January 4,2018, RightCare Foundation changed its name to Higher

Homecare.


                                     JURISDICTION & VENUE

          8.    The Court has federal question subject matter jurisdiction over these TCPA

claims.

          9.    The Court has supplemental jurisdiction over these ATDA claims pursuant to 28

U.S.C. $ 1367, since they form part of the same case and arise from the same set of facts.

          10.   Venue is proper pursuant to 28 U.S.C. $         l39l(b)(l)   and (2) because the

Defendant is a resident ofthis district, and because PlaintiffMoore is a resident of this district,

which is where he received the illegal telemarketing calls that are the subject of this lawsuit.

                                        TCPA BACKGROUNI)

          11.   In 1991,    Congress enacted the TCPA to regulate the explosive growth of the

telemarketing industry. In so doing, Congress recognized that "[u]nrestricted telemarketing . . .

can be an intrusive invasion of privacy     [.]" Telephone Consumer Protection          Act of 1991, Pub. L

No. 102-243,    $   2(s) (1991) (codified at 47 U.S.C.    S 227).

The TCPA Prohibits Automated Telemarketing Calls

          12.   The TCPA makes it unlawful "to initiate any telephone call to any residential

telephone line using an artificial or prerecorded voice to deliver a message without the prior
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express consent of the called party, unless the call is initiated for emergency purposes." See 47

u.s.c.      $   227(bxlxB).

            13.     The TCPA provides a private cause of action to persons who receive such calls.

See 47      U.S.C. $ 227(bX3).

            14.     According to findings by the Federal Communication Commission ("FCC"), the

agency Congress vested with authority to issue regulations implementing the TCPA5 such calls

are prohibited because, as Congress found, automated or prerecorded telephone calls are a

greater nuisance and invasion of privacy than live solicitation calls, and such calls can be costly

and inconvenient.

            15.     ln2013, the FCC required prior express written consent for all autodialed or

prerecorded telemarketing calls ("robocalls") to wireless numbers and residential lines.

Specifically, it ordered that:

            [A] consumer's written consent to receive telemarketing robocalls must be signed
            and be suffrcient to show that the consumer: (l) received "clear and conspicuous
            disclosure" of the consequences of providing the requested consent, i.e., that the
            consumer will receive future calls that deliver prerecorded messages by or on
            behalf of a specific seller; and (2) having received this information, agrees
            unambiguously to receive such calls at a telephone number the consumer
            designates.[] In addition, the written agreement must be obtained "without
            requiring, directly or indirectly, that the agreement be executed as a condition   of
            purchasing any good or service.[]"

In   the   Matter of Rules & Regulations Implementing the Tel. Consumer Prot. Act of 1991,

27 B.C.C. Rcd. 1830, 1844 (2012) (footnotes omitted).

The National Do Not Call Registry

            16.     The National Do Not Call Registry allows consumers to registertheir telephone

numbers and thereby indicate their desire not to receive telephone solicitations at those numbers.

See 47 C.F.R. $ 64.1200(c)(2).      A listing on the Registry "must be honored indefinitely, or until
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the registration is cancelled by the consumer or the telephone number is removed by the database

administrator." Id.

        17.     The TCPA and implementing regulations prohibit the initiation of telephone

solicitations to residential telephone subscribers to the Registry. 47 U.S.C. $ 227(c);47 C.F.R.

$ 6a.1200(c)(2).

        18.     A person whose number is on the Registry, and who has received more than one

telephone call within any twelve-month period by or on behalf of the same entity in violation         of

the TCPA, can sue the violator and seek statutory damages. 47 U.S.C. $ 227(c)(5).


                                       ATDA BACKGROUNI)

        19.     In 1991, the Illinois General Assembly     enacted the   ATDA to regulate the use of

autodialers, in response to many complaints received by the Attorney General's offrce.

Automatic Telephone Dialers Act (codified at 815       Ill Comp. Stat. 305/1, et seq.)
        20.     As amended in 2013, the ATDA provides for treble actual damages, statutory

damages of $500 per violation, and costs. 815 ILCS 305/30(c)-(c-5)

The ATDA Prohibits Automated Telemarketins Calls

        21.     The ATDA prohibits "play[ing] a prerecorded message placed by an autodialer

without the consent of the called party." 815 ILCS 305/30(b).

        22.     Under the ATDA' an "autodiale/' or "autodialer system" is defined as "any

telephone dialing or accessing device, machine, computer or system capable of storing telephone

numbers which is programmed to sequentially or randomly access the stored telephone numbers

in order to automatically connect a telephone with a recorded message[.]' 815 ILCS 305/5(a).i



' The term "autodialer" or "autodialer system" does not include "device[s] associated with a burglar alarm
system, voice message system or fire alarm system." 815 ILCS 305/5(a).
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The ATDA Prohibits Caller ID Spoofing

        23.    The ATDA prohibits operating an autodialer "in a manner that impedes the

function of any caller ID when the telephone solicitor's service or equipment is capable   of

allowing the display of the solicitor's telephone number."   ^See
                                                                    815 ILCS 305/15(d).

       24.     Under the ATDA, "caller ID" is defined as "the display to the recipient of the call

the caller's telephone number or identity". 815 ILCS 305/5(0.


                                  FACTUAL ALLEGATIONS

       25.     On or about July 6, 2003, Plaintiffregistered his residential telephone number,

(630) 510-X)OO( on the National Do Not Call Registry.

        26.    Plaintiffhas never removed his residential telephone number from the Registry.

       27.     On December 13, l8 and 22, 20lT,Plaintiffreceived telemarketing calls from

caller ID numbers (629) 228-0068 and (8a7) 245-2130.

        28.    When Plaintiff answered the calls, he heard a prerecorded message promoting

RightCare Foundation's goods and services.

        29.    When Plaintiffpressed the number    I   on his telephone during the message, he

became connected with a representative who stated that the call was on behalf of RightCare

Foundation located in Illinois.

       30.     The purpose of these calls was to generate sales for Higher Homecare.

       31.     When Plaintiff called back at (629) 228-0068 to investigate, he heard a tone

indicating that the number is not in service.

        32.    After the prerecorded telemarketing calls the Plaintiffreceived, he contacted

Higher Homecare who informed him that the calls were made by a vendor of theirs doing

business as "Live Leads Guru".
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        33.      Plaintiffhas been injured by the acts of the Defendant because his privacy has

been violated and he was subjected to annoying and harassing calls that constitute a nuisance.

Plaintiff was also temporarily deprived of legitimate use of his phone because the phone line was

tied up by the illegal calls.

        34.      Plaintiff did not provide his prior express written consent for the Defendant to

place telemarketing calls to him.


      HIGITER HOMECARE'S LIABILITY FOR THE TELEMARI(ETING CALLS

        35.      Higher Homecare is a "person," as definedby 47 U.S.C. $ 153(39).

        36.      The Federal Communication Commission ("FCC") is tasked with promulgating

rules and orders related to enforcement of the TCPA. See 47 U.S.C. 227(b)(2).

        37.      The FCC has explained that its "rules generally establish that the party on whose

behalf a solicitation is made bears ultimate responsibility for any violations." See In re Rules &

Regulations Implementing the TCPA, CC Docket No. 92-90, Memorandum Opinion and Order,

10 FCC Rcd 123e1,12397          (fl 13) (1995).

        38.      In their January 4, 2008 ruling, the FCC reiterated that a company on whose

behalf a telephone call is made bears the responsibility for any violations.     Id   (specifically

recognizing "on behalf    of' liability   in the context of an autodialed or prerecorded message call

sent to a consumer by a    third party on another entity's behalf under 47 U.S.C. $ 227(b).

        39.          On May 9,2013, the FCC confirmed this principle in a Declaratory Ruling

holding that sellers such as Higher Homecare may not avoid liability by outsourcing

telemarketing.

        [A]llowing the seller to avoid potential liability by outsourcing its telemarketing
        activities to unsupervised third parties would leave consumers in many cases
        without an effective remedy for telemarketing intrusions. This would particularly
        be so if the telemarketers were judgment proof, unidentifiable, or located outside
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        the United States, as is often the case. Even where third-party telemarketers are
        identifiable, solvent, and amenable to judgment limiting liability to the
        telemarketer that physically places the call would make enforcement in many
        cases substantially more expensive and less efficient, since consumers (or law
        enforcement agencies) would be required to sue each marketer separately in order
        to obtain effective relief. As the FTC noted, because "[s]ellers may have
        thousands of independent' marketers, suing one or a few of them is unlikely to
        make a substantive difference for consumer privacy.

May 2013 FCC Ruling,28 FCC Rcd at 6588 (1137) (internal citations omitted).

        40.     More specifically, the May 2013 FCC Ruling held that, even in the absence of

evidence of a formal contractual relationship between the seller and the telemarketer, a seller is

liable for telemarketing calls if the telemarketer "has apparent (if not actual) authority" to make

the calls. 28 FCC Rcd at 6586 ('lt]34).

        41.     The May 2013 FCC Ruling rejected a narrow view of TCPA liability, including

the assertion that a seller's liability requires a finding of formal agency and immediate direction

and control over the third-party who placed the telemarketing       call.   Id   at 6587 n. 107.

        42.     Higher Homecare is legally responsible for ensuring that the vendor that made the

calls complied with the TCPA and ATDA, even if Higher Homecare did not itself make the calls.

        43.     Higher Homecare knowingly and actively accepted business that originated

through the illegal telemarketing calls from the vendor that made the calls.

        44.     By hiring a vendor to make calls on its behall Higher Homecare "manifest[ed]

assent to another person . . . that the agent shall act on the   principal's behalfand subject to the

principal's control" as described in the Restatement (Third) of Agency.

        45.     Furthermore, Higher Homecare had day-to-day control over the actions of the

vendor that made the calls, including the ability to prohibit it from using prerecorded messages to

contact potential customers of Higher Homecare and calling phone numbers registered on the

National Do Not Call Registry.
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        46.      Additionally, Higher Homecare exercised control by restricting the geographic

locations in which the vendor that made the calls could promote RightCare Foundation.

        47.      Finally, the May 2013 FCC Ruling states that called parties may obtain "evidence

of these kinds of relationships . . . through discovery, if they are not independently privy to such

information."    Id   at 6592-593 (!J46). Moreover, widence of circumstances pointing to apparent

authority on behalf of the telemarketer "should be suffrcient to place upon the seller the burden

of demonstrating that a reasonable consumer would not sensibly assume that the telemarketer

was acting as the seller's authorized agent."    Id   at 6593 (fl 46).


                                                COUNT      I
        YIOI"ATION OF THE TCPA'S AUTOMATED TEL,EMARI(ETING CALL
                                             PROYISIONS

        48.      Plaintiffincorporates the allegations from all previous paragraphs as if fully set

forth herein.

        49.      The Defendant violated the TCPA by (a) initiating telephone solicitations to the

Plaintiff s residential line using   a prerecorded message, or (b) by the fact that others made those

calls on its behalf. See 47 U.S.C. $ 227(b); 47 C.F.R. $ 6a.1200(a)(3).

        50.      The Defendant's violations were      willful and/or knowing.

                                               COT]NT     tr
                 VIOLATION OF THE TCPA'S DO NOT CALL PROYISIONS

        5I   .   Plaintiff incorporates the allegations from all previous paragraphs as if fully set

forth herein.

        52.      The Defendant violated the TCPA by (a) initiating telephone solicitations to the

Plaintiffs telephone number that is listed on the Do Not Call Registry, or (b) bV the fact that

others made those calls on its behalf. See 47 U.S.C. $ 227(c);47 C.F.R. $ 6a.1200(c)(2).

        53.      The Defendant's violations were      willful anilor knowing.
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                                                 COUNT         III
        YIOI.ATION OF THE ATDA'S AUTOMATED TEIJMARI(ETING CALL
                                                PROYISIONS

        54.         Plaintiffincorporates the allegations from all previous paragraphs as if fully set

forth herein.

        55.         The Defendant violated the ATDA by (a) playing prerecorded messages placed by

an autodialer to the     Plaintiff s residential line, or O)   bV the fact that others made those calls on

its behalf. ,See 815 ILCS 305/30(b).


                                  COUNT IV
            YIOLATION OF THE ATDA'S CALLER ID SPOOFING PROVISIONS

        56.         Plaintiffincorporates the allegations from all previous paragraphs as if fully set

forth herein.

        57.         On information and belief, the caller ID (629) 228-0068 transmitted to the

PlaintifPs telephone during the calls initiated by the Defendant does not represent any phone

number presently or previously assigned to Higher Homecare or RightCare Foundation.

        58.         While, on information and belie{, the service or equipment used by the Defendant

or their vendor was capable of allowing the display of RightCare Foundation's caller            ID on the

PlaintifPs telephone, the Defendant or their vendor prevented the correct caller ID from being

displayed.

        59.         The Defendant violated the ATDA by (a) operating an autodialer in a manner that

impeded the function of caller ID on the PlaintifPs telephone, or (b) by the fact that others made

those calls on its behalf. ,See 815 ILCS 305/15(d).


                                          PRAYER FOR RELMF

        WHEREFORE, the Plaintiffrespectfully prays that judgment be awarded in the

Plaintiff   s   favor and against the Defendant as follows:
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         A.     Because of the Defendant's         willful andlor knowing violations of 47 U.S.C.

$   227(bxl), treble damages,      as   provided by statute, of up to $1,500 for every call that violated

the TCPA;

         B.     Because of Defendant's statutory violations of 47 U.S.C . 5 227(b), $500 in

statutory damages for every call that violated the TCPA;

         C.     Because ofDefendant's          willful and/or knowing violations of 47 U.S.C. $ 227(c),

treble damages, as provided by statute, ofup to $1,500 for every call that violated the TCPA;

         D.     Because ofDefendant's statutory violations of 47 U.S.C. $ 227(c), $500 in

statutory damages for every call that violated the TCPA;

         E.     Because of Defendant's statutory violations of 815 ILCS 305/30(b), $500 in

statutory damages for wery call that violated the ATDA;

         F.     Because of Defendant's statutory violations of 815 ILCS 305/15(d), $500 in

statutory damages for every call that violated the ATDA;

         G.     Costs of suit;

         H.     Such other relief as the Court deems just and proper.

         Plaintiff requests   a   jury trial   as to all claims of the complaint so triable.



         RE   SPECTFULLY SUBMITTED,

                                                     GEORGE MOORE.
                                                     Pro Se


         DATED: July 2, 2018
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